Case 2:04-cr-20131-STA Document 80 Filed 08/26/05 Page 1 of 3 Page|D 81

IN THE UNITED sTATES DISTRICT COURT F"»EU @`Y jj iii . D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

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UNITED sTATEs oF AMERICA, c BJ;GW§ 4 Sttit£)
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Plaintiff, V'.U C`F “f"_. =';-=lt;".#iprll§
v. NO. 04-20131-B

RONNIE PERKINS,

Defendant.

 

ORDER DENYING NOTICE OF APPEAL TO THE DISTRICT COURT AND ORDER
REFERRING TO THE MAGISTRATE JUDGE DEFENDANT’S REQUEST FOR
“CONFLICT-FREE” COUNSEL

 

Before the Court is Defendant’s notice of appeal to the District Court of the Western
District of Tennessee at Memphis from a judgment entered by the District Court. However, if
Perkins wishes to appeal from an order of this Court, he must appeal to the Sixth Circuit Court
of Appeals. Thus, because an appeal to this Court is not proper, Defendant’s notice of appeal
must be denied.1

In his notice, Defendant also requests “conilict-free” counsel. Defendant’s "motion" is
hereby referred to the United States Magistrate Judge for determination Any objections to the
magistrate judge’s order shall be made in writing within ten (10) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections E 28 U.S.C. § 636(b)(1). Failure to timely assign as error a defect in the

magistrate judge’s order will constitute a waiver of that objection.

 

1 To the extent that Defendant’s notice of appeal may be construed as a request for
reconsideration, that request is also DENIED.

Thle document entered on the docket sheet in compliance

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Accordingly, Defendant’s notice of appeal is DENIED and his request for a “conflict-
free” counsel is REFERRED to the magistrate judge for determination

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lT ls so ORDERED this 0\5 day of Augusr, 2005.

 

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UNlT o 5TATE5 DlSTRlCTJUDGE

   

UNITED STATE DISTRIC COUR - WTERN D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 80 in
case 2:04-CR-20131 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

